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                                             EXHIBIT 1

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                                     APPLICABILITY
        STATE OF WASHINGTON          PRISON
        DEPARTMENT OF CORRECTIONS
                                     OFFENDER/SPANISH MANUALS
                                        REVISION DATE        PAGE NUMBER          NUMBER
                                             9/8/20            1 of 20        DOC 450.100
                                     TITLE
        POLICY                                  MAIL FOR INDIVIDUALS IN PRISON


REVIEW/REVISION HISTORY:

Effective:    2/1/83 DOC 450.020                 Revised:    6/7/07 AB 07-016
Revised:      9/1/83                             Revised:    7/30/07 AB 07-022
Revised:      10/24/83                           Revised:    9/12/07 AB 07-028
Revised:      2/20/84                            Revised:    5/19/08
Revised:      11/6/87                            Revised:    8/11/08 AB 08-022
Revised:      1/1/92 DOC 450.100                 Revised:    10/1/09
Revised:      11/1/92                            Revised:    12/31/09
Revised:      11/1/93                            Revised:    9/1/10
Revised:      12/27/93                           Revised:    7/25/11
Revised:      11/1/94                            Revised:    8/15/14
Revised:      1/10/99                            Revised:    7/1/15
Revised:      1/5/00                             Revised:    11/21/15
Revised:      5/1/04                             Revised:    12/27/17
Revised:      1/22/07                            Revised:    1/20/20
Revised:      4/26/07 AB 07-013                  Revised:    9/8/20

SUMMARY OF REVISION/REVIEW:

Added IV.I. that an Indian Tribal Entity may send paper ballots to members for governmental
matters
VIII.A.1.a. - Added Just Detention International as a legal mail entity




APPROVED:



             Signature on file
                                                        8/26/20
STEPHEN SINCLAIR, Secretary                             Date Signed
Department of Corrections




   11                                                                                 Exhibit 1
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                                              EXHIBIT 2

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                                       UNAUTHORIZED MAIL

Mail to or from incarcerated individuals, including publications and eMessages/
attachments, may be rejected for any of the following reasons:

1.         Not specifically authorized by Department policy or facility procedures

2.         Attempts to establish contact with a person or a person's guardian who has requested
           not to be contacted by the individual, when the individual is aware or should be aware of
           the request

3.         Attempts to establish prohibited contact between the sender and recipient, including
           attempted contact between an employee/contract staff/volunteer found to have
           committed staff sexual misconduct/harassment and/or any individual in violation of DOC
           450.050 Prohibited Contact

4.         Violates sentencing conditions and/or court order

5.         Contains an unknown substance(s) or contraband, or relates to sending contraband
           in/out of the facility

6.         Contains items written or drawn in crayon or gel pen, contains excessive ink, or
           contains or has been treated with perfume, glitter, and/or other items that could be
           easily misidentified

7.         Contains escape plans and/or other information related to escape

8.         Provides technical/detailed information on security systems, equipment, and practices
           used in the correctional field

9.         Contains plans for activity that violates state/federal law, the Washington Administrative
           Code, Department policy, and/or facility procedures

10.        Contains instructional and/or "how to" material for committing illegal activities

11.        Depicts or describes the procedures for constructing or using weapons, ammunition,
           bombs, and/or other destructive devices, or includes life sized photograph(s)/graphic
           illustration(s) of these items

12.        Provides instructions on martial arts, fighting/self-defense techniques, and/or how to
           disable/disarm others

13.        Appears to be in code

14.        Contains written/graphic information on security equipment/operations or facility
           blueprints/diagrams

15.        Contains detailed maps/charts of Washington, Oregon, Idaho, and/or British Columbia,
           except those received by facility libraries

16.        Contains information that could create a risk of physical harm to the individual or
           another person if the communication were allowed

Rev. (9/20)                                        1 of 3                      DOC 450.100 Attachment 1
      32                                                                                         Exhibit 2
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                                    APPLICABILITY
        STATE OF WASHINGTON         PRISON/WORK RELEASE
        DEPARTMENT OF CORRECTIONS
                                    OFFENDER/SPANISH MANUALS
                                       REVISION DATE       PAGE NUMBER             NUMBER
                                            1/23/19          1 of 10         DOC 450.200
                                    TITLE
        POLICY                      TELEPHONE USE BY INCARCERATED INDIVIDUALS


REVIEW/REVISION HISTORY:

Effective:   10/1/80 DOC 450.010
Revised:     10/1/85
Revised:     3/31/91 DOC 450.200
Revised:     12/31/96
Revised:     6/12/00
Revised:     11/6/00
Revised:     5/9/03
Revised:     7/5/05
Reviewed:    7/17/06
Revised:     7/31/07
Revised:     3/5/09
Revised:     1/12/10
Revised:     1/9/12
Revised:     1/13/14
Revised:     3/16/15
Revised:     11/21/15
Revised:     1/23/19

SUMMARY OF REVISION/REVIEW:

Major changes to include adding the use of a Video Relay System. Read carefully!




APPROVED:



             Signature on file
                                                       1/3/19
STEPHEN SINCLAIR, Secretary                            Date Signed
Department of Corrections




   36                                                                                 Exhibit 3
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                                         APPLICABILITY
        STATE OF WASHINGTON              PRISON/WORK RELEASE
        DEPARTMENT OF CORRECTIONS
                                         OFFENDER/SPANISH MANUALS
                                             REVISION DATE            PAGE NUMBER           NUMBER
                                                 6/14/21                1 of 10         DOC 450.200
                                         TITLE
        POLICY                            TELEPHONE USE BY INCARCERATED INDIVIDUALS


REVIEW/REVISION HISTORY:

Effective:     10/1/80 DOC 450.010                         Revised:      7/31/07
Revised:       10/1/85                                     Revised:      3/5/09
Revised:       3/31/91 DOC 450.200                         Revised:      1/12/10
Revised:       12/31/96                                    Revised:      1/9/12
Revised:       6/12/00                                     Revised:      1/13/14
Revised:       11/6/00                                     Revised:      3/16/15
Revised:       5/9/03                                      Revised:      11/21/15
Revised:       7/5/05                                      Revised:      1/23/19
Reviewed:      7/17/06                                     Revised:      6/14/21

SUMMARY OF REVISION/REVIEW:

Policy Statement I1.B., Directive I.A., 1.A.2.a., I.A.3., I.B., I.B.1., I.C.1., I.D.5.a.3), I.D.8., I.F.,
I.F.2.a., I.G.3.b., I.H.2., and I.H.5.a. - Adjusted language for clarification
I.A.4., I.C.4., I.C.5., 1.0.9., I.D.11., I.D.11.a., I.D.F.1., I.H.5.c., and I1.C. - removed unnecessary
language
Added. I.B.1.b. that the vendor may be contacted for issues with a phone used by incarcerated
individuals
I.E., I.E.1., II.A., and 11.B. - Added clarifying language
Removed I.E.2.d. that the individual/consular officer will be responsible for the cost of
unmonitored/unrecorded telephone calls
Added I.H.6.e. that IIU Investigators may disclose recordings to law enforcement agencies


APPROVED:



             Signature on file
                                                              5/10/21
JULIE A. MARTIN, Acting Secretary                             Date Signed
Department of Corrections




   47                                                                                            Exhibit 4
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                                              EXHIBIT 5

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                                     APPLICABILITY
        STATE OF WASHINGTON          PRISON
        DEPARTMENT OF CORRECTIONS
                                     OFFENDER/SPANISH MANUALS
                                        REVISION DATE        PAGE NUMBER           NUMBER
                                             6/11/20           1 of 12         DOC 450.300
                                     TITLE
        POLICY                               VISITS FOR INCARCERATED INDIVIDUALS


REVIEW/REVISION HISTORY:

Effective:    1/7/00
Revised:      2/20/03
Revised:      11/15/06
Revised:      4/18/07 AB 07-012
Revised:      2/20/09
Revised:      2/1/10
Revised:      2/4/11
Revised:      6/1/13
Revised:      2/2/15
Revised:      11/21/15
Revised:      9/1/16
Revised:      5/29/18
Revised:      7/11/18
Revised:      5/7/19
Revised:      6/11/20

SUMMARY OF REVISION/REVIEW:

Removed reference to "Immediate Family" from Policy Statement Ill. to the Definitions section.




APPROVED:



             Signature on file
                                                        6/1/20
STEPHEN SINCLAIR, Secretary                             Date Signed
Department of Corrections




   58                                                                                  Exhibit 5
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                                              EXHIBIT 6

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                                     APPLICABILITY
        STATE OF WASHINGTON
        DEPARTMENT OF CORRECTIONS
                                     PRISON/REENTRY
                                     FACILITY/SPANISH MANUALS
                                        REVISION DATE       PAGE NUMBER           NUMBER
                                             11/30/21         1 of 13         DOC 450.300
                                     TITLE
        POLICY                                VISITS FOR INCARCERATED INDIVIDUALS


REVIEW/REVISION HISTORY:

Effective:    1/7/00
Revised:      2/20/03
Revised:      11/15/06
Revised:      4/18/07 AB 07-012
Revised:      2/20/09
Revised:      2/1/10
Revised:      2/4/11
Revised:      6/1/13
Revised:      2/2/15
Revised:      11/21/15
Revised:      9/1/16
Revised:      5/29/18
Revised:      7/11/18
Revised:      5/7/19
Revised:      6/11/20
Revised:      11/30/21

SUMMARY OF REVISION/REVIEW:

Major changes to include moving information to new in-person and video visit guidelines
posted on the external website and incorporating applicability to Reentry Centers. Read
carefully!




APPROVED:



             Signature on file
                                                        11/1/21
CHERYL STRANGE, Secretary                               Date Signed
Department of Corrections




   71                                                                                 Exhibit 6
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                                              EXHIBIT 7

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                       ELIGIBILITY REQUIREMENTS FOR VISITORS
Eligible Visitors

Professional visitors must be credentialed, licensed, and working in a professional capacity
(e.g., clergy, attorney, social worker not escorting a minor, tribal/other government officials).

1.        Except for members of the media (e.g., bloggers, authors, reporters) and professional
          visitors hired to supervise minors, professional visitors are not required to be on the
          approved visit list and will request visits per DOC 150.150 Visits and Tours of
          Department Facilities and Offices.

          •       Members of the media and hired professional visit supervisors must be approved
                  for visit privileges through the regular application process.

2.        Proof of valid certification/licensure and other applicable documentation must be
          provided upon request or visit privileges may be denied.

Approved minors (i.e., under 18 years of age and not legally emancipated) may participate in
visiting an incarcerated individual when escorted by someone on that individual's approved
visit list, who is:

1.        A designated adult escort (e.g., an approved non-incarcerated parenUlegal guardian,
          approved government designated escort,) listed on DOC 20-441 ParenUGuardian
          Consent for Minor Visit and/or Escort.

          •       This form must be submitted before the date of the visit to the Statewide Visit
                  Unit at dochqvisitunit@doc.wa.gov.

          •       A government-designated escort (e.g., guardian ad litem, court-appointed special
                  advocate, government caseworker/visit supervisor), who has submitted DOC 20-
                  182 Government Designated Escort Application to escort an approved minor.
                  The Statewide Visit Unit will verify the authenticity of the applicant.

          •       Escorts approved as part of a contract (e.g., Girl Scouts Beyond Bars) may
                  escort children on an individual's visit list per the contract.

                  •      Escorts do not have to be on the individual's visit list for the child to be
                         added to an individual's visit list.

Current and former Department employees, contract staff, and volunteers who are immediate
family may be considered for visit privileges.

1.        Current Department employees, contract staff, and volunteers who are not immediate
          family are not eligible to visit incarcerated individuals.

          •       Employees/contract staff/volunteers may participate in a program or special
                  event as a guest if approved by the SuperintendenUReentry Center Community
                  Corrections Supervisor (CCS).

2.        Immediate family must provide documentation reflecting the relationship with the
          individual they want to visit.

Rev. (11/21)                                 Page 1 of 3                        DOC 450.300 Attachment 1
     85                                                                                          Exhibit 7
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                                              EXHIBIT 8

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                                      APPLICABILITY
        STATEOFWASHI NGTON            PRISON/WORK RELEASE
        DEPA RTMENT OF COR RECTIONS
                                      OFFENDER/SPANISH MANUALS
                                         REVISION DATE        PAGE NUMBER          NUMBER
                                              8/13/20           1 of 8         DOC 590.200
                                      TITLE

        POLICY                         MARRIAGES AND STATE REGISTERED DOMESTIC
                                                    PARTNERSHIPS


REVIEW/REVISION HISTORY:

Effective:    12/7/84 DOC 730.010
Revised:      10/1/85
Revised:      11/20/87 DOC 590.200
Revised:      4/11/03
Revised:      12/1/06
Revised:      3/20/08
Revised:      3/10/09
Revised:      1/18/11
Revised:      11/19/12
Revised:      3/15/13
Revised:      7/20/16
Revised:      7/27/17
Revised:      8/13/20

SUMMARY OF REVISION/REVIEW:

Major changes to include title, applicability, and updated terminology throughout. Read
carefully!




APPROVED:



             Signature on file
                                                         7/13/20
STEPHEN SINCLAIR, Secretary                              Date Signed
Department of Corrections




   89                                                                                     Exhibit 8
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                                                   STATE OF WASHINGTON
                                       DEPARTMENT OF CORRECTIONS
                                         CLALLAM BAY CORRECTIONS CENTER
                               1830 Eagle Crest Way• Clallam Bay, WA 98326-9723 • (360) 203-1500
      November 4,2020                                 FAX (360) 203-1210


       Ms. Melissa Mesa
       25330 62nd Avenue South,#CC07
       Kent,WA 98032

       SUBJECT:         Keodara,Say DOC#367524

       Ms. Mesa:

      This is to notify you that I have received information that leads me to believe your interactions with
      incarcerated individual Keodara,Say DOC#367524 at Clallam Bay Corrections Center (CBCC) create
      a risk to the security and operation of our facility or any Department of Corrections (DOC) facility. In
      May 2020 it is believed that you,in concert with and at the direction of incarcerated individual
      Keodara,assisted,aided,and/or conspired to introduce contraband into CBCC.

      As a result,under DOC Policies 450.300 Visitsfor Incarcerated Individuals, your visitation and video
      visitation privileges with DOC are being terminated immediately and permanently. Be advised you
      have the right to appeal this decision to the Assistant Secretary for Prisons, who has the final approval
      on visiting privilege appeals,at 7345 Linderson Way SW,Olympia,WA 98504-1118. If you choose to
      appeal this decision you must write a letter stating the reasons why you feel your visiting privileges
      should be reinstated and the circumstances surrounding the termination.

      Further,under DOC Policies 450.100 Mail for Individuals in Prison and 450.200 Telephone Use by
      Incarcerated Individuals all forms of communication are hereby restricted immediately and
      permanently. This includes but is not limited to any telephonic,written,or electronic communication.
      Be advised that policy does not provide an option for appeal of the restriction of all communication.
      We understand and appreciate the positive influence that friends and family have on incarcerated
      individuals,but in some cases the restriction of communication is appropriate.

      Sincerely,


      �uperintendent
      Clallam Bay Corrections Center

      JB:lp
      cc:   Keodara, Say #367524                                            CPMNewman
            All DOC Superintendents                                         CUS Gross
            HQ Visitation Unit                                              Counselor Irving
            CBCC IIU Case File                                              Electronic File
            CBCC Mailroom Sgt. Stone
                                    " Working Together for SAFER Communities"

ft recycled 98
1,J         paper                                                                                       Exhibit 9
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                                              EXHIBIT 10

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                                                                                    RECEIVED
November 20, 2020                                                                       DEC: 0 9 2020
Mr. Robert HERZOG                                                                CORRESPONDENCE UNIT
Assistant Secretary for Prisons
7345 Linderson Way SW
Olympia, WA 98504-1118

SUBJECT:       Appeal (KEODARA, DOC#367524)

Mr.HERZOG,

         This letter is to appeal a decision/allegation made by Clallam Bay Corrections Center's
(CBCC) Superintendent Ms. Jeri BOE. A letter dated November 4, 2020, postmarked November
6, 2020, signed by CBCC Superintendent BOE wrote, my interactions with incarcerated
individual Mr. Say KEODARA, DOC #367524 at CBCC, creates a risk to the security and
operation of the said facility (CBCC) or any Department of Corrections (DOC) facility.
         Thus, under DOC Policy 450.300, Visits fq_r Incarcerated Individuals, she believe� that I
assisted, aided, and/or conspired to introduce contraband into CBCC, resulting in her decision of
immediate and permanent termination of visitations, video visits, etc., and all privileges with
DOC, to include but not limited to any telephonic, written or electronic form of communication.
As instructed, I am to state to you the reasons why I feel my visiting privileges should be
reinstated and the circumstances surrounding the termination.
         Mr. HERZOG, the circumstances surrounding the current termination ofprivileges, is
unknown to me at this point in time. I do not know what the circumstances are that led Ms. BOE
to make this harsh allegation. Nor at any time, had I been given any form of due process, whether
it was formal or informal, a sanction - to sanction hearing, or a phone call. I was not provided any
evidence or was I offered a chance to contest the allegations to be undeniably false. I received a
letter informing me of the permanent termination and restrictions on all privileges, to inch�de how
it is appropriate for the termination. I have yet to be advised, or have I been able to understand
what I have done that would force Ms. BOE to introduce such a severe penalty, with lack of
evidence.
         I am humbly requesting for your assistance, in reinstating the stated privileges that were
taken. The decision/allegations are false, and the information given has no merit. I can assure you
I had and have no intentions of any wrongdoing in any way shape or form. I would not violate
any policy to include DOCs policy, or violate security. To include assist, aide or would conspire
to introduce anything whether a contraband or not to CBCC, or any other facility or other
establishment.The allegations, lack of evidence, and the subsequent non-compliance of DOC
policy 450.300, leading to the punishment of permanent termination of said privileges under her
definition of belief, is unjust.




Melissa Me
25330 62nd Ave
Kent, WA 98032
(214) 437-6862



 100                                                                                           Exhibit 10
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                                               EXHIBIT 11

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                                             STATE OF WASHINGTON
                                 DEPARTMENT OF CORRECTIONS
                                      P.O. Box 41100 • Olympia, Washington 98504
 December 14, 2020



 Ms. Melissa Mesa
 25330 62nd Avenue S., Apt. CC207
 Kent, Washington 98032

 Dear Ms. Mesa:

 Thank you for your letter requesting that your termination be overturned to participate in the visit
 program with Say Keodara, DOC 367524

 We' understand and appreciate the positive influence that friends and family have on incarcerated
 individuals. The visiting program is an important part of our commitment to maintaining ties to
 family and friends for incarcerated individuals. However, in some cases, participation in this
 program is not appropriate.

 Visitation is a privilege; as such, the Department has the authority to restrict/deny/suspend/ terminate
 visit privileges to any individual who may be a security concern. Policy 450.300, Visits for
 Incarcerated Individuals, states "Persons involved in attempting/conspiring to introduce, or aiding
 and abetting another to introduce contraband will have their visit privileges suspended or
 permanently terminated".

 Based on records reviewed, due to safety and security concerns, the termination of visit privileges is
 appropriate and remains in place at this time. All avenues for appeal have been exhausted. Future
 correspondence regarding your visitation privileges, whether sent by you or by someone on your
 behalf, will not receive a response.

 Sincerely,



-\\�be�, �s�tary
   Prisons Division
                 1
   RH:ch:DEP55454&55491

 cc:    Mike Obenland, Deputy Director
        Jeri Boe, Superintendent
        Lori Lawson, Associate Superintendent
        Tanner Germeau, Visit Sergeant
        Leona Irving, Classification Counselor
        Say Keodara, DOC 367524
        Electronic File

                                 "Working Together for SA�E Communities"
 102                                                                                                    Exhibit 11
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                                               EXHIBIT 12

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                                                                                         Mailbox Request

Printed by Pate, Lesley E.
Offender:            KEODARA, SAY SULIN #367524 on 6/21/2021 1:11 PM
Mailbox:             Superintendent-B01
Status:              Completed
Assigned To:         Boe, Jeri L. on 6/21/2021 2:16 PM
Completed By:        Boe, Jeri L. on 7/12/2021 8:24 AM


Messages
Sent                        From                     Read                 Message

6/21/2021 1:11 PM           Offender                                      CAN WE SCHEDULE A MEETING?


6/21/2021 2:16 PM           Boe, Jeri L.             6/24/2021 12:53 PM   What is the topic? and how long do you
                                                                          need?


6/24/2021 12:54 PM          Offender                                      BRADY TOLD ME THAT IF I HELPED YOU
                                                                          GUYS,YOU GUYS WOULDUNRESTRICT MS
                                                                          MESA. SO ITS ABOUT PPL FALLINGOUT HIGH
                                                                          IN B


7/07/2021 9:28 AM           Boe, Jeri L.             7/08/2021 12:53 PM   I cannot overturn Mesa.


7/08/2021 12:55 PM          Offender                                      WHO CAN? WHAT IF U JUST SAY U HAD
                                                                          MISSINFORMATION,BASED ON MY LAST 603
                                                                          N I LET GO OF THE SUIT?ISHERE AGAIN




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          105                                                                                            Exhibit 12
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                                                                                        Mailbox Request

Printed by Pate, Lesley E.
Offender:            KEODARA, SAY SULIN #367524 on 7/08/2021 12:57 PM
Mailbox:             Superintendent-B01
Status:              Completed
Assigned To:         Boe, Jeri L. on 7/09/2021 10:47 AM
Completed By:        Boe, Jeri L. on 7/12/2021 8:24 AM


Messages
Sent                        From                     Read                Message

7/08/2021 12:57 PM          Offender                                     I NEVER INVOLVED HER IN NO
                                                                         CRIM.ACTIVITY. WEPLANNED TO
                                                                         MARRY.SHE 47,IM 27 BUT DONT CARE.I
                                                                         WOULDNT,WONT RISK LOSING HER.SHES
                                                                         ONE OF A KIND N ALL I HAD. LETS FIGURE
                                                                         SOMETHING OUT.PLEASE


7/09/2021 10:47 AM          Boe, Jeri L.             7/09/2021 7:23 PM   I am not sure what there is to figure out. I
                                                                         found that she in fact was involved with your
                                                                         criminal activity. I take the introduction of
                                                                         drugs very seriously therefore I cannot
                                                                         imagine how you and I can figure it out.


7/09/2021 7:25 PM           Offender                                     WHY R U JUST NOW TELLING ME THISS? ALL
                                                                         U ORIGINALLY SAID IS ITS UNSAFE FOR US
                                                                         TO TALK N THAT I DIRECTED HER TO DO
                                                                         SOMETHING IN MAY OF 2020. WHAT IS
                                                                         THAT SOMETHING? JANIA WAS IN MY
                                                                         WRITE UP,I WAS ACCUSED OF CRIM.
                                                                         ACTIVITY WITH HER N FOUND GUILT.
                                                                         NEVER MS.M




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